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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

              Plaintiff,                      CIVIL ACTION NO. 11-20078

       v.                                     DISTRICT JUDGE AVERN COHN

VICTOR JAYASUNDERA, ET AL.,                   MAGISTRATE JUDGE MARK A. RANDON

              Defendants.
                                          /

          ORDER GRANTING DEFENDANT JAYASUNDERA’S MOTION
     FOR ATTORNEY CONDUCTED VOIR DIRE (DKT. NO. 75) AND DENYING
    HIS MOTION FOR SUPPLEMENTAL JURY QUESTIONNAIRE (DKT. NO. 80)

       Before the Court are Defendant Victor Jayasundera’s motion for attorney conducted

voir dire (Dkt. No. 75) and his motion for a supplemental jury questionnaire (Dkt. No. 80)

The Government has not filed a response to either motion. On November 30, 2011, Judge

Avern Cohn referred both motions to the undersigned for hearing and determination

pursuant to 28 U.S.C. § 636(b)(1)(A).

       The decision to allow attorney-conducted voir dire or a supplemental jury

questionnaire falls within the discretion of the trial court. Fed. R. Civ. P. 24(a)(1) and (2);

Rosales-Lopez v. United States, 451 U. S. 182, 189 (1981) (“Because the obligation to

impanel an impartial jury lies in the first instance with the trial judge, and because he must

rely largely on his immediate perceptions, federal judges have been accorded ample

discretion in determining how best to conduct the voir dire.”).




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        Having reviewed both motions and the proposed/sample supplemental jury

questionnaire, the undersigned finds that the proposed jury questionnaire will not assist the

Court or counsel in selecting a fair and impartial jury. However, the Court will permit the

attorneys to conduct the voir dire, subject to reasonable time limits, to be placed on the

record before jury selection. Accordingly,

        IT IS ORDERED that Defendant’s motion for attorney conducted voir dire IS

GRANTED and his motion for a supplemental jury questionnaire IS DENIED.

        IT IS FURTHER ORDERED that the parties shall exchange a list of proposed voir

dire questions at least two business days prior to jury selection so that any objections can

be ruled upon before jury selection begins.

        So Ordered.

                                                s/Mark A. Randon
                                                Mark A. Randon
                                                United States Magistrate Judge
Dated: December 15, 2011

                                         Certificate of Service

I hereby certify that a copy of the foregoing document was served on the parties of record on this date,
December 15, 2011, electronically.

                                             s/Melody R. Miles
                                             Case Manager to Magistrate Judge Mark A. Randon
                                             (313) 234-5542




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